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                   EXHIBIT 4
      Case 3:17-cv-00072-NKM-JCH Document 1150-4 Filed 10/04/21 Page 2 of 6 Pageid#:
                                        19122




From: Bolton, Eric
Sent: Tuesday, October 8, 2019 3:40 PM
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Cc: Levine, Alan <alevine@cooley.com>; Roy III, Daniel P. <droy@cooley.com>; Mills, David <dmills@cooley.com>
Subject: Sines et al v. Kessler et al - W.D. Va. Case 3:17-cv-00072-NKM-JCH

On behalf of Plaintiffs’ Counsel attached please find the notice regarding the deposition of Thomas Rousseau. We will
be circulating dial-in telephone information for those who cannot attend in person.


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                                  19123




                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, HANNAH
  PEARCE, MARCUS MARTIN, NATALIE
  ROMERO, CHELSEA ALVARADO,
  THOMAS BAKER and JOHN DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.




            NOTICE OF DEPOSITION OF THOMAS RYAN ROUSSEAU
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        PLEASE TAKE NOTICE that pursuant to FRCP 30(b)(1) and the Court’s order dated

 September 6, 2019, Plaintiffs, by and through their undersigned counsel, will take the deposition

 upon oral examination of Thomas Ryan Rousseau at 9 a.m. on October 16, 2019 before a Notary

 Public or other person authorized by law to administer oaths. The deposition will take place at

 the United States District Court for the Northern District of Texas, 501 West 10th Street, Fort

 Worth, TX 76102-3673. The deposition will be recorded by stenographic means and videotaped.

 You are invited to attend and cross-examine.

 Dated: October 8, 2019
 New York, New York
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                                  19125



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                                          Counsel for Plaintiffs




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on October 8, 2019, I served the foregoing upon following counsel
 and pro se defendants, via electronic mail, as follows:

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